             Case 1:19-cv-11847-MKV Document 13 Filed 03/11/20 Page 1 of 1
                                   DENIED. The parties are advised that all existing deadlines and
                                   dates — including the March 30, 2020 deadline to respond to the
                                   Complaint — remain in effect unless and until the parties submit a
                                   stipulation of settlement and dismissal to the Court or, pending
                                   final execution of a settlement, request dismissal without prejudice
101 Park Avenue, Suite 1700        to restoring the action to the Court’s calendar within thirty days.
New York, NY 10178
                                   SO ORDERD.
Tel 212.878.7900 Fax 212.692.0940
www.foxrothschild.com                        3/11/2020

JASON B. JENDREWSKI
Direct Dial: 212-878-7952
Email Address: JJendrewski@FoxRothschild.com

                                               March 6, 2020
VIA ECF

The Honorable Mary Kay Vyskocil
United States District Judge
United States District Court
Southern District of New York                                      USDC SDNY
Daniel Patrick Moynihan                                            DOCUMENT
United States Courthouse                                           ELECTRONICALLY FILED
500 Pearl Street                                                   DOC #:
New York, New York 10007-1312                                      DATE FILED: 3/11/2020

           Re:        Guglielmo v. Officine Generale Inc. (1:19-cv-11847) (MKV) (SDA)
                      Joint Notice of Settlement and Request for Adjournment of All Pending Dates

Dear Judge Vyskocil:

        We represent Officine Generale Inc. (“Defendant”) in the above-referenced matter. On
behalf of Defendant and plaintiff Joseph Guglielmo (“Plaintiff”), we hereby inform the Court that
the parties have reached a settlement in principle. We anticipate that the parties will draft and
execute their settlement agreement and file a stipulation of dismissal with prejudice within the
next forty-five (45) days. Given that the parties have resolved the litigation, we respectfully
request that this Court adjourn all pending dates sine die (including but not limited to the
deadline for Defendant to file its response to the Complaint) and provide the parties with forty-
five (45) days to file their anticipated stipulation of dismissal.

           We thank the Court for its attention to this matter.

                                                         Respectfully submitted,
                                                         /s/ Jason B. Jendrewski
                                                         Jason B. Jendrewski

cc:        David P. Force, Esq. (via ECF)




Active\108425953.v1
